42 F.3d 1386
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Ricky JESSUP, Defendant Appellant.
    No. 94-6790.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 25, 1994Decided Nov. 29, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at New Bern.  Terrence W. Boyle, District Judge.  (CR-91-105, CA-94-116-5-BO)
      Ricky Jessup, appellant Pro Se.  Jane H. Jolly, Asst. U.S. Atty., Linda Kaye Teal, Office of the U.S. Atty., Raleigh, NC, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before WILKINS and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Jessup, Nos.  CR-91-105;  CA-94-116-5-BO (E.D.N.C. May 27, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    